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     38. Among othe r thing s , P ia intiff e xe cute d Tra ns a ction Confirma tion #9532-202 to purcha s e

line fill g a s , s uch tha t the R e volution S ys te m wa s not me re ly In-S e rvice a nd re a dy for us e          it

wa s a ctua lly pla ce d in comme rcia l us e .

     39. The following da y, S e pte mbe r 10, P ia intiff s e nt De fe nda nt writte n notice confirming tha t

the Re volution S ys te m wa s pla ce d into comme rcia l s e rvice the pre vious da y.

      4 0 . Ac c ording ly , the firs t da y of the month following S e pte mbe r 9 , 2 0 1 8 , is Oc tobe r 1 ,

2 0 1 8 -the In-S e rvic e Da te u nde r ITC lol .

D. Th e La n d s lid e

      4 1 . On S e pte mbe r 1 0 , 2 0 1 8 , a fte r the R e volution S ys te m we nt into comme rcia l s e n/ice on

S e pte mbe r 9, a la nds lide occune d ca us ing "a n e ve nt of Force Ma j e ure ."

      4 2 . Ba s e d on tha t Forc e Ma je u re , P la intiff notifie d De fe nda nt of the Forc e Ma je u re a nd

a dvis e d tha t it would provide a dditiona l informa tion "re g a rding the re s umption of s e rvice unde r

the ITC ."

E. P la in tiffs Co n tin u e d S e rvic e

      4 3 . De s pite the la nd s lid e , P la intiff c ontinu e d to provid e g a s g a the ring a nd proc e s s ing

s e rvic e s 1


      4 4 . In pa rtic u la r, the la nd s lid e only a ffe c te d a re la tive ly s hort portion of the HP GP -a

s ubpa rt of the Re volution S ys te m.

      4 5 . P la intiff inc urre d s ig nific a nt e xpe ns e to ins ta ll a by pa s s of the a ffe c te d portion of the

s ys te m, a llowing P la intiff to conne ct the HP GP into a nothe r of its ne a rby g a the ring pipe line s ,

whic h e na ble d P la intiff to c ontinu e to provide De fe nda nt with g a the ring s e rvic e s to a third

pa 1'ty's proce s s ing fa cility. The re fore , the HP GP re ma ine d pa rtia lly ope ra tiona l, a nd De fe nda nt




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continue d to de live r g a s unde r ITC 101. S e rvice unde r ITC 102 wa s not a ffe cte d by the e ve nt of

Force Ma j e ure a nd continue d without inte rruption.

     4 6 . Be twe e n S e pte mbe r 9 , 2 0 1 8 a nd J a nua ry 3 1 , 2 0 1 9 , De fe nda nt de live re d s ig nific a nt

volume s of Ga s to P la intiff on the R e volution S y s te m, following the te rms of ITC lol a nd ITC

102.

F . De fe u d a n t's De fa u lt

     47. Althoug h De fe nda nt continue d to ta ke a dva nta g e of the s e rvice s P la intiff provide s unde r

the ITCs , De fe nda nt ha s re fus e d to pa y for thos e s e rvice s .

     4 8 . Na me ly , De fe nda nt ha s re fus e d to pa y $ 4 0 0 ,2 1 5 .5 1 for s e rvic e s unde r ITC 1 0 1 from

S e pte mbe r throug h Nove mbe r. Additiona lly, pa yme nt for s e rvice s re nde re d in De ce mbe r is due

te n (10) da ys from the da te of invoice , which we re provide d to De fe nda nt on Fe brua ry 1, 2019.

     4 9 . S o o n J a n u a ry 1 7 , 2 0 1 9 , P la in tiff s e n t n o tic e s o f d e fa u lt re g a rd in g De fe n d a n t's
                                             75
"outs ta nding a nd unpa id invoice s .

     5 0 . De fe nda nt's de fa ult a ls o trig g e re d a dditiona l oblig a tions unde r ITC 1 0 1 . Na me ly, unde r

ITC 1 0 1 , in the e ve nt of de fa ult, De fe nda nt is re quire d to "provide a dditiona l C re dit S upport

within fifte e n (1 5 ) bus ine s s da y s .... The a dditiona l C re dit S upport s ha ll be the le s s e r of: (1 )

four (4 ) months of Fe e s due from S hippe r or (ii) the numbe r of months re ma ining in e ithe r or

both ITCs .

     5 1 . This a dditiona l Cre dit S upport e qua te d to $ 7 ,3 7 8 ,8 0 0 tha t De fe nda nt wa s re quire d to

obta in a nd ma inta in, a nd which De fe nda nt ha s not obta ine d.




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G. De fe nda nt Acknowle dg e s ITC 1 0 1 a nd 1 9 2 a re Enforce a ble

     5 2 . On J a nua ry 2 2 , 2 0 1 9 , in re s pons e to P la intiffs de fa uit Notice s , De fe nda nt wrote tha t it

"will pa y the a mounts ide ntifie d in the ITC -1 0 2 Notic e re la te d to s e rvice s a c tua lly pe rforme d

rmdproperly invoiced under ITC-I02.73

     5 3 . De fe nda nt dis pute d e rrors in the invoice s for ITC 1 0 1 , but ne ve r a lle g e d the ITCs we re

une nforce a ble .

H. De fe nda nt R e ne g e s on ITCs 101 a nd 1 0 2

     5 4 . On J a nua ry 2 9 , 2 0 1 9 , P la intiff followe d up on De fe nda nt's pa s t-due invoice s . P la intiff

dis a g re e d with De fe nda nfs c la ime d "e 1 Tors " in the invoic e s a nd a dvis e d tha t De fe nda nfs

"re fu s a ls to pa y the P a s t Du e Invoic e s ... a re in ba d fa ith a nd c ons titu te ong oing Eve nts of

De fa u lt."

     5 5 . Only the n, a fte r m o n th s o f c o n tin u e d s e rv ic e u n d e r th e ITC s a n d its o w n

a cknowle dg e me nt of the ITCs e nforce a bility, did De fe nda nt concoct a ne w e xcus e . La te r, on

J a nua ry 29, 2019, De fe nda nt wrote a lle g ing tha t ITC 101 a nd ITC 102 "s ha ll be a nd he re by [a re l

te rmina te d e ffe ctive .ia nua ry 29, 2019."




I. Defendant Seeks to Deliver Gas

     5 6 . De s pite its conte ntion tha t the ITCs a re une nforce a ble , De fe nda nt continue s to s e e k to

de live r g a s to P la intiff.

     5 7 . De fe nda nt conte nds tha t it ha s "nomina te d" to de live r g a s unde r the Ba s e Ag re e me nt

a lone .

     58. But the Ba s e Ag re e me nt ca nnot ope ra te a lone , a nd without a n e nforce a ble ITC, P la intiff

ha s the rig ht to s hut off De fe nda nt's g a s s e rvice s .



c 0 m p LAl̀n%                                                                                                 Pa g e 11
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                                           v . g AUs Es o F AC T1 QN_
                                 g Q§ J NT I: DEC LAR ATO8 Y..n1 DG1 v1 EnT_

    5 9 . P la intiff incorpora te s by re fe re nce P a ra g ra phs l throug h 5 8 of this Compla int a s if the

s a me we re s e t forth more fully he re in a t le ng th.

    6 0 . P la intiff a nd De fe nda nt ha ve a dis pute re g a rding the ir rig hts a nd oblig a tions unde r the

Ba s e Ag re e me nt a nd ITCs .

    6 1 . P la intiff will s how tha t unde r the pla in la ng ua g e of ITC lol, it s a tis fie d the Gua ra nte e d

In-S e rvice Da te a nd, the re fore , tha t the ITCs re ma in in full force a nd e ffe ct.

    62. De fe nda nt ha s e xpre s s ly ta ke n the contra ry pos ition         tha t the ITCs a re not e nforce a ble

a nd tha t P la intiff did not me e t the Gua ra nte e d In-S e rvice Da te .

    W HER EFOR E, P la intiff s e e ks a judg me nt: (l) de c la ring tha t the Ba s e Ag re e me nt, a long

with lTCs 1 0 1 a nd 1 0 2 , a re va lid a nd e nforc e a ble c ontra c ts , (2 ) de c la ring tha t the In-S e rvic e

Da te wa s Octobe r l, 2018, a nd (3) a wa rding s uch cos ts a nd othe r re lie f a s the Court de e ms jus t.

                                    COUNT II.; _l3 1 3 ,l8 AcH OF CON.TR ACT

    63. P la intiff incorpora te s by re fe re nce P a ra g ra phs 1 throug h 6 2 of this C ompla int a s if the

s a me we re s e t forth more fully he re in a t le ng th.

    6 4 . P la intiff a nd De fe nda nt s imulta ne ous ly e nte re d into a nd e xe cute d the Ba s e Ag re e me nt

a nd ITCs , which cons titute a va lid, binding a nd e nforce a ble contra ct. P la intiff ha s pe rfonne d its

obiig a tions unde r the Ag re e me nt, a nd a ll conditions pre ce de nt to re cove ry ha ve be e n s a tis fie d 01'

pe rfonne d.

     6 5 . W ithout jus tiflc a tion or e xc us e , De fe nda nt ha s willfully a nd inte ntiona lly bre a c he d its

oblig a tions unde r the Ag re e me nt by fa iling to pa y a mounts owe d a nd re pudia ting the ITCs .

     66. De fe nda nfs bre a ch of its contra ctua l oblig a tions ha s or will proxima te ly ca us e da ma g e to

P la intiff, for which P la intiff s e e ks judg me nt a g a ins t De fe nda nt.


compLA1 n'i*                                                                                                  Pa g e 12
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    W HER EFOR E, P la intiff re que s ts da ma g e s , inc luding dire c t los t profits , in e xc e s s of the

a rbitra tion ju ris d ic tiona l limits of the C ou rt, inc lu d ing pre - a nd pos t-ju d g me nt inte re s t (a s

provide d for by contra ct, s ta tute , a nd the Court's e quita ble dis cre tion), cos ts , a nd re que s ts s uch

furthe r re lie f a s the Court ma y de e m a ppropria te .

                             COUNT III: UNJUST EN.Ig1QHMENT
    67. P la intiff incorpora te s by re fe re nce P a ra g ra phs       1 throug h 6 6      of this C ompla int a s if the

s a me we re s e t forth more fully he re in a t le ng th.

    68. De fe nda nt obta ine d a be ne fit from P la intiff, be ca us e P la intiff provide d g a s g a the ring a nd

proce s s ing s e rvice s to De fe nda nt.

    6 9 . De fe nda nt ha s not c ompe ns a te d P la intiff for the be ne fit tha t it ha s re c e ive d, a nd it is

unjus t for P la intiff to ha ve obta ine d a nd to re ta in s uch be ne fit.

    70. P la intiff s uffe re d da ma g e s a s a re s ult of De fe nda nt's unjus t e nrichme nt.

    W HEREFORE, P la intiff re que s ts da ma g e s in e xce s s of the a rbitra tion juris dictiona l limits of

the Court, including pre - a nd pos t~judg me nt inte re s t, cos ts , a nd re que s ts s uch furthe r re lie f a s the

Court ma y de e m a ppropria te .

                                                 V I. J UR Y DEMAND
    7 1 . P la intiff re que s ts tha t a ll is s ue s of fa ct be trie d be fore a july.



                                          VII.      RELIEFMQUESTED
         P la in tiff re q u e s ts th a t th is C o u rt, u p o n fin a l h e a rin g , e n te r ju d g m e n t a g a in s t th e

De fe nda nt for the following re lie f:

         (1 )      Mone ta ry da ma g e s in e xc e s s of the a rbitra tion juris dic tiona l limits of the Couli,

                   including a ctua l dire ct da ma g e s , in a n a mount to be de te rmine d a t tria l,

         (2)       P re -judg me nt a nd pos t-judg me nt inte re s t,



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     (3 )      Equita ble re lie f, including a pre limina ry a nd pe rma ne nt injunction;

     (4)       De cla ra tory re lie f,

     (5 )      Cos ts of s uit incuu.e d he re in, a nd

     (6)        S uc h othe r a nd furthe r re lie f in la w or in e quity to whic h P la intiff ma y be jus tly

                e ntitle d.


                                                   Re s pe ctfully s ubmitte d

                                                                                             L
                                                 /S tu -r H. S os tma nn, Es quire
                                                   Gre g oqf P . G
                                                   MAR S HALL I                    'W AR NER C OLEMAN
                                                   & GOGGIN
                                                                       *lux 7




                                                   ATTORNEYS FOR PLAINTIFF




C OMPLAINT                                                                                              Pa g e 14
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EXECUTIUN VERSION




                        AMENDED AND RESTATED

               GATHERING AND PROCESSING AGREEMENT

                                  BETWEEN

                        EM Energy Pennsylvania, LLC

                                      AND

                         ETC Northeast Pipeline, LLC




                         DATED November 13, 2017




                         C ONTR AC T n o . 9 5 3 2 -1 0 0




                                    EXH1

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                                                                      E XEC UTION VER S ION

                       AMENDED AND RES TATED
                 GATHERING AND PROCES S ING AGREEMENT


        ETC Northeast Pipeline, LLC, a Delaware limited liability corporation ("Gatl1ere1j"), and
EM Energy Pennsylvania, LLC, a Delaware limited liability corporation ("Shipper") enter into
this Amended and Restated Gathering and Processing Agreement (together with all Transactions,
collectively, this "Agreement") effective as ofNovember 13, 2017 (the "Effective Date").

                                     W IT NES S ET H

      WHEREAS, Shipper and Gatherer are parties to that certain Gathering and Processing
Agreement, dated April 17, 2015 (the "Original Agreement");

       WHEREAS, the Parties desire to amend and restate the Original Agreement, on the terms
and conditions set forth herein;

       WHEREAS, Shipper owns or controls quantities of Gas produced from certain oil and
gas properties located in the State of Pennsylvania, for which Shipper will require gathering and
processing services; and

       WHEREAS, Gatherer desires to gather and process Shipper's Gas, and Shipper desires
for Gatherer to gather and process such Gas from specified points of receipt.

       NOW, THEREFORE, for and in consideration of the premises and mutual covenants
herein contained, and intending to be legally bound, Shipper and Gatherer do hereby stipulate
and agree as follows.

                                         ARTICLE I
                                        DEFINITIONS

        1.1    Specific Defined Terms. As used throughout this Agreement including the
Exhibits hereto, the following capitalized terms shall have the meanings ascribed below.

       "Adea_ua_tp Assurgmce of Performance" has the meaning set forth in Section 14. 1 .

        "Affiliate" and "Affiliates" means, with respect to any relevant Person, any Person that
directly or indirectly, through one or more intermediaries, controls, is controlled by or under
common control with such relevant Person. For purposes of this definition, the term "control"
(including its derivatives and similar terms) means the possession, directly or indirectly, of the
power to direct or cause the direction of the management and policies of the relevant Person,
whether through the ownership or control of v oting interest, by contract or otherwise.
Notwithstanding the foregoing, Shipper has informed Gatherer that its indirect and controlling
owners, funds managed by the Merchant Banking Division of Goldman Sachs and Ontario
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Teachers Pension Plan, and their respective Affiliates (collectively, "Sponsors") (i) are engaged
in the business of and invest in multiple companies that are, among other things, both engaged in
the business of and invest in exploring for, producing, gathering, transporting, treating and/or
processing oil and/or gas (a "Portfolio Company" and collectively the "Portfolio Companies"),
(ii) that Sponsors may hav e a direct or indirect interest in some or all of such Portfolio
Companies, and (iii) that such Portfolio Companies operate and engage in the oil and gas
exploration, production, gathering, transportation, and treatment business independently from
Seller. As such, Gatherer acknowledges and agrees that for purposes of this Agreement,
Sponsors and any Portfolio Company shall not be considered an Affiliate of Shipper.

       "A_g§         shall have the meaning set forth in the Preamble.

       "AreapfL)edication" means the area shown on Appendix l of any ITC.

       " Btu" means the amount of energy required to raise the temperature of one pound of pure
water one degree Fahrenheit (i° F) from fifty-nine degrees Fahrenheit (59° F) to sixty degrees
Fahrenheit (60° F). .

         "Business Dav" means any day except Saturday, Sunday or Federal Reserve Bank
holida ys .

       "C3+" means ali Plant Products other than ethane.

       "CCT " shall mean Central Clock Time and is defined as current time in the Central Time
Zone taking into consideration the seasonal changes back and forth between Daylight Savings
and Standard time.

        "Committed Reserves" means Shipper's interest and any other area that the Parties may
in the future mutualiy agree to add to this Agreement.

       "Qomponernt Plant Products" is defined in Section 5.2, sub-paragraph 3.

       "Componen;_Rg:overy Factor" means the fixed percentage of each Component Plant
Product deemed to be recovered at the Plant pursuant to this Agreement and listed in the
applicable ITC.

        " Condensate" means any hydrocarbon produced from a well which is measured and
delivered into the Gathering System at a Receipt Point as Gas but during transportation in the
Gathering System experiences a phase change to a liquid state and is subsequently recovered as a
liquid.

        "Contract_Y_ear" means the 365 consecutive Days (or 366 consecutive Days if Contract
Year includes a leap year (February 29)) beginning on the first Day of the Month subsequent to
the Initial Delivery Date, or if the Initial Delivery Date occurs on the first Day of a Month, then
such first Day, and each of the anniversaries thereafter.
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       "Day" means a period of`twer1ty~four (24) consecutive hours, beginning at 9:00 a.m. CCT
on any calendar Day.

        "Delivery Point(s)" means the point(s) identified in the applicable ITC at which Gatherer
is to deliver, and Shipper or Shipper's market is to receive, the Residue Gas.

       "Downstream Transporter" means any pipeline directly connected downstream of the
Delivery Point(s) .

       "Effective Date" shall have the meaning set forth in the Preamble.

       "Ethane D~=lix¢           has the meaning set forth in Section 5.3 .

         " Event of DM      " or "Default"
                                  __..     means the occurrence of any of the following events,
circumstances or conditions: (i) failure by either Party to materially perform or comply with any
material agreement, covenant, obligation or other provision contained in this Agreement when
either (A) such failure has not been cured within the greater of a reasonable period of time or
thirty (30) Days; in each case, following the Party in Default receiving written notice thereof
from the Party not in Default (other than a Default which occurs because such Party is rightfully
withholding performance in response to the other Party's failure to perform), or (B) an effort to
remedy such failure has not been commenced within such period following such written notice
and continued to be diligently prosecuted, with such measures reasonably expected to cure any
such Default; (ii) the entry of any Party into voluntary or involuntary bankruptcy, receivership or
similar protective proceedings; (iii) the material inaccuracy or breach of any representation or
warranty contained herein when such failure either has not been cured within the greater of a
reasonable period of time or thirty (30) Days following receipt of written notice thereof by the
Party in Default, or (iv) failure to pay any amounts owed pursuant to this Agreement within
thirty (30) Days after the applicable due date, other than amounts disputed in good faith pursuant
to the provisions of Section 9.2.

        "Firm " or "Firm Service" as used herein means that the gathering and processing of Gas
up to the Shipper's Reserved Capacity is not subject to a prior claim by another shipper or class
of shipper or service.

      " FL&U" m e a ns the c om bina tion of Fu e l, Los t a nd Una c c ou nte d for Ga s , a nd
Condensate.

       "Fuel" is that quantity of Gas, in MMBtu, used by Gatherer for fuel in the provision of
services such as gathering, conditioning, treating, dehydrating and/or compressing the Gas on the
Gathering System.

       "Forge Maieure" shall have the meaning set forth in Section }6.l .


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                      |'




                "Gas." means methane and other gaseous hydrocarbons, including gaseous combustible,
        noncombustible, and inert elements, compounds, components or mixtures thereof and liquefiable
        hydrocarbons in the vapor stream produced at the wellhead, including gas separated or flashed
        from oil or condensate afler production.

               "Qas Imbalance Acgount~" means the record of the cumulative variance between the
        volume of Gas delivered at the Delivery PoEnt(s) for Shipper's account and the volume of Gas
        received at the Receipt Point(s) (less any FL&U and PTR).

                " gagthgsring and Processing Fee(sY' shall have the meaning set forth in Section 3.1 .

               "Ga the rin,9..S
                           _ ys t§ ;1;"means the existing Gas gathering pipeline system owned and
        operated by Gatherer or an Affiliate of Gatherer and/or the Gas gathering pipeline system to be
        constructed by Gatherer, as described in the applicable ITC.

               "Gross Heating Value" means the number of Btu's liberated by the complete combustion,
        at constant pressure, of one (I) cubic foot of Gas at a base temperamre of sixty degrees
        Fahrenheit (60° F.) and a referenced pressure base of fourteen and seventy-three hundredths
        (14.73) Psia with air of the same temperature and pressure of the Gas, after products of
        combustion are cooled to the initial temperature of the Gas, and after the water of the combustion
        is condensed to the liquid state. The Gross Heating Value of the Gas shall be corrected for the
        water vapor content of Gas being delivered provided, however, that if the water vapor content of
        the Gas is seven (7) pounds or less per one million (l,000,000) cubic feet, the Gas shall be
        assumed to be dry and no correction shall be made.

ti1."          " individual Transaction Confirrn.§     or "ITC" means an effective and unexpired
        agreement between Gatherer and Shipper documented by written means, evidencing the specific
        terms of a Transaction, which may be in any form adequate at iaw, but which shall be subject to
        the terms and conditions of this Agreement.

               "1.n1.;ia1 Delivery Date" means the first date on which Shipper deliv ers any Gas to
        Gatherer at the Receipt Point(s) pursuant to the applicabie ITC.

                "lniet Volume" is defined in Section 5.2, sub-paragraph 1.

                  "Interrup;il;.I€;" or "Inten'upt_ib_|e.Service" as used herein means that Gatherer, in its sole
        and unfettered discretion, shall have the right to interrupt, curtail or suspend the receipt,
        gathering, processing or delivery of Gas hereunder at any time and from time to time without any
        liability to Shipper by reason thereof, subject to Section 6.7.

                " Laws" mean any laws, rules, regulations, decrees and orders of the United States of
        America and all other governmental bodies, agencies or other authorities having jurisdiction over
        or affecting the provisions contained in or the transactions contemplated by this Agreement or
        the Parties or their operations, whether such Laws now exist or are hereafter amended or enacted.

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        "Loss" or "Los_ses" means, unless specifically provided otherwise, all claims, including,
but not limited to, those for bodily injury or death, personal injury, illness, disease, maintenance,
cure, loss of parental or spousal consortium, loss of support, wrongful death, property damage
and wrongful termination of' employment, damages, liabilities, losses, demands, liens,
encurnbrances, fines, penalties, costs for removal of wreck/debris, causes of action of any kind
(including actions in rem or in personam), obligations, costs, judgments, interest and awards
(including payment of reasonable attorneys' fees and costs of litigation) or amounts, of any kind
or character (except punitive or exemplary damages), whether under judicial proceedings,
administrative proceedings or otherwise, or conditions in the premises of or attributable to any
Person or Persons or any Party or Parties, breach of representation or warranty (expressed or
implied), under any theory of tort, contract, breach of contract (including any Losses which arise
by reason of indemnification or assumption of liability contained in other contracts entered into
by Gatherer or Shipper) arising out of, or incident to or in connection with the Agreement or the
performance of work, services or operations contemplated under the Agreement.

       "Lost and Unaceounted for Gas" or "L&U.'° means that volume of Gas, in MMBtu,
received by Gatherer which is released and/or lost through piping, equipment, or operations,
which cannot be accounted for, or is vented, all on the Gathering System.

       "M A O P " means maximum allowable operating pressure.

       " M c f ' means one thousand (1,000) cubic feet of Gas measured at a base temperature of
sixty degrees Fahrenheit (60° F), and at a pressure base of fourteen and seventy-three one-
hundredths (14.73) pounds per square inch absolute.

       " M M B t u " shail mean one million (1 ,000,000) Btu.

      " Month" means a period beginning at 9:00 a.m. CCT on the first Day of the calendar
Month and ending at 9:00 a.m. CCT on the first Day of the next succeeding calendar month.

        "New Tax_e_§ means (i) any Taxes enacted and effective after the Effective Date,
including that portion of any Taxes or New Taxes that constitutes an increase, or (ii) any Laws,
or interpretations thereof; enacted and effective after the Effective Date resulting in the
application of any Taxes to a new or different class ofparties.

       " N G L " o r "Natural Gas Liquids" means the demethanized mix of Eiquef iable
hydrocarbons and nonhydrocarbon substances that are condensed or absorbed from, or separated
out of natural gas, including ethane, propane, isobutane, normal butane, natural gasoline
(pentanes and heavier hydrocarbons) and only those limited quantities of methane and carbon
dioxide incidentally recovered with the hydrocarbons. References to Plant Products in this
Agreement shall be considered references to Natural Gas Liquids.

       "Non~Spe<;ifjcation Gag" shali have the meaning set forth in Section 7.3 .


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       "Party" means, individually, either Gatherer or Shipper, collectively referred to as the
"Patties".

    . "Person" or "Per§         means any individual or entity, including, without limitation, any
corporation, limited liability company, joint stock company, general or limited partnership, or
government authority (including any agency or administrative group thereof).

       "Plant" means the turbo-expander, cryogenic Gas processing facilities identified in the
applicable ITC, from time to time utilized by Gatherer or Gatherer's nominee for the purpose of
processing Gas delivered from the Gathering System, whether such facilities consist of one (I) or
more turbo-expander, cryogenic Gas processing facilities, or portions thereof, and recovering a
raw unfractionated liquid hydrocarbon mix.

       "Plant Pxjpducts" is defined in Section 5.2, sub-paragraph 2.

       "Plant Product Sh_rinkag§ is detined in Section 5.2, sub-paragraph 5.

        " Plant Tlaermal Reduction" or "PTR" means the sum of the Plant Product Shrinkage and
allocated process fuel and losses, in MMBtu.

       "Primary.T8,r_41" has the meaning set forth in Section 17.1.

       "Psia" means pounds per square inch absolute.

       "P s i " me a ns pounds pe r s qua re inch g a ug e .

       " QuaIitl§                   means the Gas quality specifications set forth in Section 7.1 .

        "Receipt.Eoint(sy' means the point(s) identified in the appiicable ITC at which Shipper is
to deliver, and Gatherer is to receive, Gas into the Gathering System.
        "Resicllgg Gas" is defined in Section 5.2, sub-paragraph 6.

       " Reterx_tion Volume" means the quantity of Gas, if any, stated in MMBtus that is retained
by Gatherer without compensation to Shipper.

      "$hjpper'sI:2@ily Deliverability oi`_Q8\5" means the Gas which is physically produced by
Shipper from wells completed within the Committed Reserves, subject only to Sl'1ipper's
Reservations.

        "Shipper's Interest" means all interests that Shipper (or any of its Affiliates) now or
hereinafter owns, controls, acquires, or has the right to market in gas, oil and/or other
hydrocarbon reserves in under or attributable to the Subject Leases in the Area of Dedication,
together with any pool, communitized area or unit, and all interests in any wells, whether now
existing or driiled hereafter, on or completed within any such Subject Leases, or within any such
pool, communitized area or unit, ev en though Shipper's Interest may be incorrectly or
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    incompletely stated, all as the same shall be enlarged by the discharge of any burdens or by the
    removal of any charges or encumbrances to which any of same may be subject as of the
    Effective Date, and any and all replacements, renewals and extensions or amendments of any of
    the same.

           "Shipper's Reserved Capacity" o r "SRC" means the portion of the aggregate daily
    gathering and processing capacity reserved for Shipper for Finn Sen/ice in the Gathering System
    and the Plant.

            '8I81t~=d Rate" means, for any date, an annual rate of interest (compounded daily) equal to
    the lesser of (a) two percent (2%) over the per annum rate of interest announced as the "prime
    rate" for commercial loans posted from time to time by Citibank, N.A. (New York, New York
    office) or its successor or a mutually agreed substitute bank, or (b) the maximum lawful interest
    rate then in effect under applicable law.

           "Subject Leases" means all leaseholds, royalties, overriding royalties, other non-expense
    bearing accounts, carried interests, fee interests or other real properly interests located within the
    Area of Dedication.

             "Taxes" means, to the extent assessed against the Gathering System or the services
    provided by Gatherer hereunder, any or all ad valorem, property, severance, production,
    extraction, first use, conservation, Btu or energy, gathering, transport, pipeline, processing,
    utility, gross receipts, Gas or oil rev enue, Gas, NGL or oil import, priv ilege, sales, use,
    consumption, excise, lease, transaction, and other or new taxes, governmental charges, licenses,
    fees, permits, and assessments, or increases therein, other than taxes based on or assessed against
    net income or net worth.

           "Temporary Re1ease...peri_od." has the meaning set forth in Section 16.6.

           " Theoregcai Gallons" is defined in Section 5.2, sub~paragraph4.

           "Thermal Content" means the product of a volume of Gas and the Gross Heating Value
    of such Gas, adjusted to a same pressure base of }4.73 p.s.i.a., and expressed in dekatherm or
    MMBtu.

           " Transaction" means any agreement (including that set forth in an Individual Transaction
    Confirmation) and any amendment, modification, or supplement thereof made subject to and in
    accordance herewith for the gathering and processing of Gas or provision of other services to be
    performed hereunder.

.          1.2   Other Defined Te;r1_'§ Other capitalized terms used in this Agreement and not
    defined in Section 1.1 abov e shall hav e the meanings ascribed to them throughout this
    Agreement.


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                                    A R TICLE II
                       S COPE OF AGREEMENT/TENDER OF GAS

        2,3     Scope of Agreement. Gatherer and Shipper from time to time during the term
hereof may, but are not obligated to, enter into Transactions for the gathering and processing of
Gas to which this Agreement shall apply. Each Transaction shall be effectuated and evidenced
as set forth in this Article 2 and shall constitute a part of this Agreement and all Transactions,
together with this Agreement, shall constitute a single integrated agreement. Each Transaction
shall be construed as one with this Agreement, and any express and irreconcilable confiict
between any term contained in this Agreement and any term contained in an Indiv idual
Transaction Confirmation shall be resolved in favor ofthe Individual Transaction Confirmation.

        2.2    Tender
                   ...__.of Committed gqserves and Gaibggigg Servjcgs.   ___ In accordance with
Article IV, Shipper shall tender to Gatherer at the Receipt Point(s) one hundred percent (l00%)
of Shipper's Daily Deliverabiiity of Gas during the term of this Agreement. Gatherer shall
accept at the Receipt Point(s) all Gas that Shipper delivers to such Receipt Point(s) up to the
SRC, and shall redeliver all such Gas (less FL&U and PTR) at the Delivery Pcint(s). Shipper
agrees to comply with Gatherer's (or its Affiliates') scheduling procedures set forth in Section
6.4 hereof. In addition, Gatherer shall accept at the Receipt Point(s) quantities of Gas above the
SRC on an Interruptible basis.

        2.3     facilities. Except as set forth in an Indiv idual Transaction Confirmation,
Gatherer shall not be obligated to add to or modify its facilities or expand the capacity of the
Gathering System or Plant in any manner in order to provide services to Shipper, including, but
not limited to providing conditioning, treating, dehydration, compression, processing, or other
services or associated facilities in order to receive Gas at an existing or new Receipt Point(s).
Shipper may request, in writing, that Gatherer expand facilities or add new Receipt Point(s) or
Delivery Point(s) or provide additional services. Gatherer shall determine, in its sole discretion,
whether it will construct the facilities necessary to provide such requested services. In the event
Gatherer agrees to provide such services, then Gatherer shali have the right to re-determine the
fees to be charged hereunder and/or to establish the fees for such additionai services, provided
that any such fees shall be mutually agreed upon by Gatherer and Shipper prior to going into
effect. Shipper shall install and operate or cause the installation and operation of all facilities
necessary to deliver Shipper's Gas to Gatherer at the Receipt Point(s).

       2.4    Allocgtjons. Shipper recognizes that quantities of Gas are delivered through the
Delivery Point(s) for third parties, and therefore, the scheduling of Gas under this Agreement
may involve the allocation of Gas deliveries. As between Gatherer and Shipper, Gatherer wiil
determine the allocation for all Gas deliveries hereunder.




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                                       A R TICLE III
                              GATHERING AND PROCES S ING FEES

             3.1      Gathering and Processing Fee(s). The gathering and processing fee(s) to be paid
     by Shipper to Gatherer for the quantities of Gas delivered by Shipper and received, gathered and
     processed by Gatherer hereunder shall be as set forfh on the Individual Transaction Confirmation
     (the "Gatliering and_1ji;0_cessing Fee(sY').

            3.2      FL8cU_. In addition to the Gathering and Processing Fees, Shipper shall convey to
     Gatherer at the Receipt Point(s) Shipper's pro rata share of FL&U. Title to the FL&U shall vest
     in Gatherer at the Receipt Point(s) at no cost to Gatherer.

                                              AR TICLE w
                                             DEDICATION

            4.1    Dedication of Committed Reserves.. For the term of any applicable Individual
    Transaction Confirmation, and subject to the provisions hereof, Shipper hereby exclusively
    dedicates and commits to Gatherer for gathering and/or other services hereunder (or shall cause
    to be dedicated and committed to Gatherer for gathering and/or other services hereunder) as a
    covenant running with the land, all of the Committed Reserves. During the term of this
    Agreement, Shipper agrees not to disconnect or spiit-connect any weiis from Gatherer's HPGP.
    Notwithstanding anything to the contrary, unless such dedication is otherwise waived or released
    in writing by Gatherer hereunder, any attempted assignment or transfer (in whole or in part,
    including any farrnout agreement or other similar or related arrangement) of any or all of the
    Committed Reserves or rights thereto shall constitute a Default by Shipper hereunder and be null
    and void unless such assignment or transfer includes an express provision stating that (a) such
    assignment or transfer is made subject to the terms of this commitment and this Agreement, and
    (b) the assignee or transferee agrees to become a party to, and bound by, the terms and
    conditions ser forth in this Agreement, such that all of the Committed Reserves remain dedicated
    to this Agreement for the term hereof. Shipper does hereby grant, bargain, sell, convey, transfer,
    assign and deliver unto Gatherer such real property interest in the Subject Leases necessary to
    create a covenant running with the land, including without limitation the rights of ingress and
    egress on and over the Subject Leases, and the dedication of Committed Reserves provided for
    herein shall be a covenant running with the iand and burdening the Subject Leases.

             4.2    Shipper's__Rese1-vations.. Shipper hereby expressly reserves the following rights
_hjgper's
     and Reservations"
          reasonable quantities of Gas to satisfy same ("§                    ):

            (a)   The right to use Gas, as a reasonably prudent operator, prior to delivery to
            Gatherer for the following purposes'

                   (U      For fuel used above ground in the development and operation of the
                           Committed Reserves; and



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              (2)     For delivery to the "lessor" from whom the Subject Leases were obtained
                      that Gas which such lessors are entitled to receiv e in kind from the
                      Committed Reserves under the terms of the Subject Leases, and

              (3)     For fuel used in the operation of the facilities which Shipper may install in
                      order to deliver Gas hereunder in accordance with the terms hereof.

              (4)     The right to engage in swaps and trades of undeveloped acreage but only
                      with prior written consent of Gatherer, which shall not be unreasonably
                      conditioned, delayed or withheld.

       (b)    The right to pool or unitize the Subject Leases (or any portion thereof) with other
       lands and leases. In the event of pooling or unitization, this Agreement will cover
       Shipper's interest in the pool or unit and the Gas attributable thereto.

       (c)   The right to separate the Gas using only mechanical, ambient temperature
       equipment located at surface production facilities on the Subject Leases.

                                          ARTICLE V
                                         PROCES S ING

       5.1     Shipper does hereby grant, assign and convey to Gatherer all of its rights to
process or cause to be processed for the removal and recovery of all components other than
methane, all of the Gas received at the Receipt Point(s).
        5.2    For all purposes, unless the context of this Agreement requires otherwise, the
following definitions shall be applicable:
               (I)    "inlet Volume" shall mean the v olume in Mcf of Gas receiv ed at a
       particular Receipt Point less Fuel and L8cU, in Mcf.
               (2)      "Plant Products" shali mean the unfractionated liquid hydrocarbon mix
       consisting of (i) ethane, (ii) propane, (iii) iso-butane, (iv) normal butane, and (v) pentanes
       plus, adsorbed, absorbed or condensed in the Plant from Gas delivered to Gatherer.
          .    (3) "Component Plant _Products" shall mean (i) ethane, (ii) propane, (iii) iso-
       butane, (iv) normal butane, and (v) pentanes plus (including iso-pentane, normal pentane
       and hydrocarbon components of higher molecular weight) for the purposes of settlement
       and allocation hereunder.

              (4)      "Theoretical .11Gallons" of a particular Component Plant Product shall mean
       the resuit obtained by multiplying the particular Component Plant Product content of a
       particular Gas stream (expressed in gallons per Met) by the Inlet Volume (in Mcf) of that
       particular stream delivered for processing (the result being expressed in gallons).
            (5)     "Plant Product ..SI:1riuk_age" shall mean the heating value equivalent of the
       Component Plant Products.


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        (6)     "Residue Gas" shall mean that portion of Inlet Volume remaining after
deducting Condensate, Plant Product Shrinka8e, and allocated process fuel and losses
(including electricity cost). Process fuel and losses will be calculated as the difference
between the Plant inlet quantities and all outlet quantities. The Plant outlet quantities,
which shall include all Plant fuel, shall equal the total of all quantities (in MMBtu) of Gas
exiting the Plant plus the heating value equivalent (in MMBtu) of all Plant Products
actually recovered in the Piant. The Plant inlet quantities shall equal the total of all
quantities (in MMBtus) of Gas entering the Plant at the Plant inlet meter. Shipper's
allocated process fuel and losses (including electricity cost) shali be based on a
percentage, the numerator of which is the Inlet Volume and the denominator of which is
the total Plant inlet quantities, in MMBtu.
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                                           AR TICLE v1
                                           QUANTITY

       6.1    During the term of this Agreement, Gatherer shall have the right to take and
receive one hundred percent (100%) of Shipper's Daily Deliverabiiity of Gas.

         6.2     Gatherer agrees to take and Shipper agrees to deliver Gas hereunder in accordance
with all applicable Laws including, but not limited to, the rules promulgated by any duly
constituted state or federal governmental authority, regulatory body or commission having
jurisdiction or control over the Parties, its respective facilities or Gas supply, this Agreement, the
gathering or processing of Gas hereunder, or any of the provisions hereof (the "Commission")
governing the determination of Gas market demand and procedures for the establishment and
allocation of allowables and for ratable nominations and takes of Gas from the applicable
iield(s). The Parties expressly recognize that Gatherer's obligations to take Gas pursuant to the
Commission rules or otherwise shall be subject to Force Majeure.

        6.3    Subject to the terms, conditions and limitations contained herein and in the ITC,
Shipper agrees to deliver, or cause to be delivered, to the Receipt Point(s), and Gatherer agrees to
accept, or cause to be accepted, on a Firm basis those daily quantities of Shipper's Gas as set
forth in any Individual Transaction Confirmation, and scheduled in accordance with this Section
6. However, except as otherwise provided herein, in no event shall Shipper tender volumes of
Gas for gathering and/or processing services hereunder on any Day in excess of the Scheduled
Quantity (defined in Section 6.4). Subject to the terms, conditions and limitations contained
herein, Shipper agrees to accept, or cause to be accepted, at the Delivery Point(s), and Gatherer
agrees to gather, process and redeliver, or cause to be gathered, processed and redelivered, on a
Firm basis the Scheduled Quantity. The Scheduled Quantity at the Delivery Point(s) shall be a
quantity of Gas equai to the remainder of the Scheduled Quantity at the Receipt Point(s) less
Shipper's pro rata share of FL&U and PTR. The maximum quantity of Gas that Gatherer is
obligated to receive hereunder at the Receipt Point(s) and deliver hereunder at the Delivery
Point(s) during any given hour of any Day is 1/24 of Shipper's Scheduled Quantity at an
instantaneous standard volumetric flow rate at any point in time during the hour. Any variation in
flow rate or the Scheduled Quantity will be confirmed in writing via fax or email by Gatherer,
with an acknowledgment returned to Gatherer by Shipper.

       6.4     Scheduling of receipts and deliveries of Gas between the Receipt PoEnt(s) and
Delivery Point(s) shall be in accordance with the Gatl1erer's nomination and scheduling
procedures and with the nomination and scheduling procedures of the Downstream Transporter,
Shipper shall submit Nominations (as defined below) for the gathering of Gas hereunder to
Gatherer via Gatherer's Web-based online nomination system. No later than three (3) Business
Days prior to the end of each Month, Shipper shali provide to Gatherer in writing the quantity of
Gas (expressed in MMBtu) Shipper expects to make available and deliver at each Receipt Point
and receive at the Delivery Point(s) each Day of the following Month (the "l_}.l_0minations"),
Should Shipper desire to change any of the Nominations during such Month, Shipper will use
reasonable efforts to notify Gatherer by no later than 8:30 a.m. CCT on the Business Day prior to
the Day of the scheduled flow of the capacity and path that the Shipper plans to utilize. The
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deadline for submitting Nominations is 11:30 a.m. CCT the Business Day prior to the Day of the
scheduled flow. Any initial Nomination received afier the deadline of 11:30 a.m. CCT on the
Business Day prior to the flow Day will be scheduled by Gatherer in its discretion. Gatlierer
may, in its discretion, allow intraday Nomination changes at the Receipt Poirat(s) and the
Delivery Point(s). Gas shall be delivered by Gatherer to the Delivery Point(s) in accordance with
confirmation by the Downstream Transporter of the Nomination and/or changes to the
Nomination (the "Scheduled Quantitv_").

        6.5    Any variance between the Volume of Gas delivered at the Delivery Point(s) for
Shipper's account and the volume of Gas received at the Receipt Point(s) (less any FL&U and
PTR) the "Imb8-llance" will be recorded in a Gas imbalance Account. If the absolute volume in
the Gas imbalance Account is greater than a plus or minus MMBtu tolerance specified in any
Individual Transaction Confirmation ("Cumulative Operational imbalance Tol.erance"), then, at
Gatherer's election, Shipper shall pay Gatherer an amount equal to a dollar value specified in
each Individual Transaction Confirmation multiplied by the quantity in the Gas imbalance
Account exceeding the Cumulative Operational imbalance Tolerance for each Month such event
occurs, ("Cumulative. Dperatignal Imbalance Fee"). Any physical flow adjustments will be
made as agreed to by Gatherer (which shall be confirmed in writing via fax or email by Gatherer,
with an acknowledgment to be returned to Gatherer by Shipper) to adequately control imbalance
levels. The daily and cumulative Imbalance(s) will be determined at the end of each Gas Day.
Gatherer may assist Shipper in managing the Imbalance and may, at any time and from time to
time, request that Shipper change its Nominations at the Delivery Point(s) or, with notice to
Shipper, restrict, interrupt, or reduce its receipts or deliveries of Gas at the Receipt Point(s) or
Delivery Point(s), and direct Shipper to make adjustments in its receipts or deliveries, in order to
maintain a daily, hourly and monthly balance or to correct an imbalance. If Shipper fails or
refuses to follow any such request from Gatherer, Gatherer may, without liability hereunder,
cease accepting or delivering Gas under this Agreement untii the conditions causing the
imbalance are corrected. Notwithstanding the foregoing, in the event that Gatherer is assessed a
cash out penalty by the Downstream Transporter, which is attributable to Shipper, Shipper shali
reimburse Gatherer for the actual amount of such cash out penalty.

        6.6    It is recognized that in order for Gatherer to efficiently and safely operate its
Gathering System and Plant, it is essential that Gas received into the Gathering System be made
available to Gatherer under as uniform operating conditions as possible. Commensurate with
good production and operating practices, and in accordance with proper conservation measures,
Shipper agrees to deliver Gas, or cause it to be delivered, to Gatherer at such rates of flow as
Gatherer, in the sole exercise of its reasonable judgment, may from time to time request.
Gatherer agrees to give Shipper reasonable notice in the event Gatherer desires at any time to
increase or decrease the quantity of Gas tendered by Shipper at any Receipt Point. For safety
reasons, or to maintain the operational integrity of the Gathering System or Plant, Gatherer may,
at any time, with reasonable notice to Shipper, interrupt or reduce, in whole or in part, its receipt,
gathering of Gas and/'or the provision of processing or other services hereunder or delivery of
Shipper's Gas, all without incurring any liability ofany kind to Shipper or to others.


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                         A R TICLE VII
                           QUALITY




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                         ARTICLE vI11
                        MEASUREMENT




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                                         ARTICLE IX
                                          B ILLING

        9.1    G.atherer's Statem . Gatherer shall render a statement to Shipper on or about
the twenty-fifth (251h1 Day of each Month setting forth (a) the amount due Gatherer for all
Gathering and Processing Fees incurred by Shipper for the services performed hereunder by
Gatherer during the preceding Month, (b) the settlement quantity of Residue Gas returned to
Shipper for that statement period, and (c) the dollar amount of the Plant Products purchased from
Shipper for that statement period (the "Plant Produet__Value").
                                                            __.      Such statement shall contain
reasonably detailed information showing the determination of such Residue Gas and such Plant
Product Value. The Parties agree that the Gathering and Processing Fees owed by Shipper to
Gatherer hereunder for such Month may be deducted from the Plant Product Value owed to
Shipper for such Month. Gatherer shall (x) include with such statement an invoice for the
difference between the total dollar amount of the Gathering and Processing Fees and the Plant
Product Value if such Fees are greater than the Plant Product Value; or (y) if the Plant Product
Value is greater than such Fees, Gatherer shall pay Shipper the difference by wire transfer on or
before the tenth (l0'11) Day following the rendition of the statement, If actual Gas or Plant
Product quantities are not available, Gatherer may utilize a reasonable, good faith, estimated
quantity based upon quantities received, gathered or extracted by Gatherer during the preceding
Month. As soon as the actual quantity becomes available, the estimate shall be adjusted and the
adjustment shall be reflected in the subsequent Month's statement. In the event such quantities
are estiMated for any period, corrected statements shall be rendered by Gatherer to Shipper and
paid by Shipper or refunded or credited by Gatherer, as the case may be, in each instance in
which the actual quantity received or delivered hereunder with respect to a Month shall be
determined to be at variance with the estimated quantity theretofore made the basis of billing and
payment hereunder.

        9.2    Payment. If the Gathering and Processing Fees on any statement are greater than
the Plant Product Value on such statement, then Shipper shall pay Gatherer the amount due in
the form of immediately available federal funds by wire or electronic fund transfer to the bank
account specified on the statement, or any other mutually agreed upon method, on or before the
tenth (10"') Day following the rendition of the statement described in Section 9.1 hereof.
Payments by either Party due on a Saturday or a bank holiday shall be made on the preceding
Business Day unless such holiday is Monday, in which case payment shall be made on the
following Business Day; payments due on Sunday shaii be made on the next Business Day. The
paying Party must tender a timely payment even if the statement includes an estimated receipt or
delivery volume. Any payment shall not prejudice the right of the paying Party to an adjustment
of any statement to which it has taken written exception, provided that such Party's exception
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shall have been made within the time period set forth in Section 19.15 herein. If the paying Party
fails to pay any statement in whoie or in part when due, in addition to any other rights or
remedies available to the Party to whom payment is due, interest at the Stated Rate shall accrue
on all unpaid amounts. Notwithstanding the foregoing, if a legitimate good faith dispute arises
between Shipper and Gatherer concerning a statement, the paying Party shall pay that portion of
the statement not in dispute on or before such due date, and upon the ultimate determination of
the disputed portion of the statement, the paying Party shall pay the remaining amount owed, if
any, plus the interest accrued thereon at the Stated Rate from the due date. Any amounts
refunded to a paying Party following resolution of any billing dispute shall accrue interest at the
Stated Rate from the date of initial payment to the date of refund.

                                          ARTICLE X
                                          WARRANTY

        10.3 Shipper's Warranty. Shipper hereby represents and warrants that it has good and
marketable title to, and full legal right and authority to deliver to Gatherer for gathering and
processing hereunder, all Gas tendered by Shipper at the Receipt Point(s). Shipper represents
and warrants that such Gas shall, at the Receipt Point(s), be free and clear of any and all claims,
royalties, liens, encumbrances, and applicable Taxes that are imposed upon production of such
Gas and all other components of such Gas and/or upon removal of liquid hydrocarbons, and
SHIPPER AGREES T O RELEASE, PRGT ECT , DEF END, INDEMNIF Y AND HOL D
HARML ESS Gatherer from and against all Losses incurred by Gatherer on account of any such
liens, encumbrances and claims.

        10.2 Gatherer's Warrantv. Gatherer hereby represents and warrants that it has the full
legal right and authority to gather and process for Shipper, all Gas tendered by Shipper at the
Receipt Point(s) pursuant to this Agreement. Gatherer represents and warrants that such Gas
from the time of receipt at the Receipt Point(s) to the time of delivery at the Delivery Point(s)
shall be free and clear of all liens, encumbrances and claims whatsoever, and G AT HERER
AGREES TO RELEASE, PROTECT, DEFEND, INDEIVINIFY AND HOLD HARMLESS
Shipper from and against all Losses incurred by Shipper on account of any such liens,
encumbrances and claims.

                                       ARTICLE XI
                                    POSSESSION OF GAS

        11.1 Partv. in Possession. As between Parties hereto, Shipper shali control and possess
the Gas affected by this Agreement at all times prior to and until delivery to Gatherer at the
Receipt Point(s) and after redelivery by Gatherer to Shipper at the Delivery Point(s). Gatherer
shall control and possess the Gas affected by this Agreement at all times after delivery thereofby
Shipper to Gatherer at the Receipt Point(s) and until redelivery by Gatherer to Shipper at the
Delivery Point(s).




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        11.2 Responsibility and Liability. Except as otherwise set forth herein, the 9arty in
control and possession of the Gas affected by this Agreement shall be responsible and pay for
any and all Losses caused thereby and occurring while the Gas is in the possession and control of
such Party.

                                      AR TICLE XII
                                  TAXES AND ROYALTIES

       12.1 Shipper Taxes and Rovalties. Shipper shall be responsible for all applicable
Taxes, New Taxes and royalties of whatever kind on or with respect to the production, delivery
and gathering or processing of Gas hereunder. Shipper shall indemnify, reimburse, defend and
hold harmless Gatherer from and against any and all claims or Losses attributable to such Taxes,
New Taxes and royalties.

                                      AR TICLE XIII
                                    REMEDIES /LIAB ILITY

         13.1 Remedjeg. To the extent not limited or waived herein, with particularity in this
Article XIII, each Party reserves to itself all rights, set-offs, counterclaims and other remedies
and defenses to which such Party may be entitled arising from this Agreement. All payment
obligations hereunder may be offset against each other or recouped.

      13.2 L1M1TATlON OF LIABILITY. FOR BREACI-I OF ANY PROVISION FOR WHICH
EXPRESS, SPECIFIC REMEDIES OR MEASURES OF DAMAGES ARE PROVIDED, SUCH REMEDIES OR
DAMAGES SHALL BE THE SOLE AND EXCLUSIVE REMEDIES, THE oBL:G0R's LIABILITY SHALL BE
SO LIMITED, AND ALL OTHER REMEDIES OR DAMAGES IN LAW OR EQUITY ARE WAIVED,
INCLUDING THOSE ATTRIBUTABLE TO THE SOLE, JOINT OR CONCURRENT NEGLIGENCE OF
OBLIGOR AND IRRESPECTIVE WHETHER THE CLAIM IS BASED ON CONTRACT, TORT, EQUITY OR
OTHERWISE. IF NO REMEDY OR MEASURE OF DAMAGES IS PROVIDED AND UNLESS OTHERWISE
HEREIN STATED, THE 0BLIGOR'S LIABILITY SHALL BE LIMITED TO DIRECT ACTUAL DAMAGES,
SUCH DAMAGES SHALL BE THE SOLE AND EXCLUSIVE REMEDY, AND ALL OTHER REMEDIES OR
DAMAGES IN LAW OR EQUITY ARE WAIVED. UNLESS OTHERWISE STATED HEREIN, NEITHER
PARTY SHALL BE LIABLE FOR TREBLE, CONSEQUENTIAL, INCIDENTAL, SPECIAL, PUNITIVE,
EXEMPLARY OR INDIRECT DAMAGES, LOST PROFITS OR OTHER BUSINESS INTERRUPTION
DAMAGES, IN TORT, CONTRACT, UNDER ANY INDEMNITY OR OTHERWISE. THE PARTZES
NEGATE ANY OBLIGATION, EXPRESSED OR IMPLIED AT LAW, REQUIRING THE USE OF BEST
EFFORTS TO SUPPLY, DELIVER, TAKE OR MARKET THE GAs.

                                         ARTICLE XIV
                                      CREDIT AS S URANCE

       14.1 All requirements to provide any "Adequate Assurance of Performance"
shall be limited to that provided in an applicable ITC.


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                                        ARTICLE XV
                                          NOTICES

        15.1 Notices, Any notice, request, demand, or statement provided for in this
Agreement, or any notice which a Party may desire to give to the other, shall be in writing, and
shail be delivered by letter, facsimile or other documentary form. Notice by facsimile or hand
delivery shall be deemed to have been received by the close of the Business Day on which it is
transmitted or hand delivered (unless transmitted or hand delivered after close, in which case ii
shall be deemed received at the close of the next Business Day) or such earlier time confirmed
by the receiving Party'

              Gatherer:              For Remittance:
                                     By Wire Transfer:
                                     La Grange Acquisition, L.P., for further credit to
                                     ETC Northeast Pipeline, LLC
                                     Wells Fargo Bank N.A.
                                     Acct. 2079900565328
                                     Wire ABA # 121000248
                                     ACH ABA # 053101561

                                     For Notices and Correspondence:
                                     E T C Northeast Pipeline, L L C
                                     Contract Administration
                                     800 East Sonterra Blvd. Ste 300
                                     San Antonio, Texas 78258
                                     Telephone (210)403-7300
                                     FAX (210)403-7500

                                     For Accounting Matters:
                                     ETC Northeast Pipeline, LLC
                                     800 East Sonterra Blvd. Ste 400
                                     San Antonio, Texas 78258

              Shipper:               For Notices and Scheduling:
                                     EM Energy Pennsylvania, LLC
                                     Attn: Director, Production Operations
                                     I800 Main Street, STE220
                                     Canonsburg, PA 15317
                                     Tefephone: 412-564-1000




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                                      For Invoices and Statements:

                                      E M Energy Pennsylvania, LLC
                                      Attn: Accounting Department
                                      1800 Main Street, STE220
                                      Canonsburg, PA 15337
                                      Telephone: 412~564-1000

Such addresses and/or other contact infomation may from time to time be changed by sending
appropriate notice thereof to the other Party in any manner provided in this Section E5. 1 .


                                         ARTICLE XVI
                                       FORCE IVIAJ EURE

        16.1 Suspension of Obligations.           Unless expressly prov ided otherwise in this
Agreement, no Party shall be liable to any other Party for failure to perform any of its obligations
under this Agreement, other than to make payments due, to the extent that and for the period
during which such perfbrmance is hindered, delayed or prevented by Force Majeure. For
purposes of this Agreement, "Force Maieure" shall mean causes, conditions, events or
circumstances which are beyond the reasonable control of the Party claiming Force Majeure.
Such causes, conditions, events and circumstances shall include, without limitation, to the extent
beyond the reasonable control of the Party claiming Force Majeure, acts of God, wars (declared
or undeclared), insurrections, hostilities, strikes, lockouts, riots, floods, fires, acts of nature,
industrial disturbances, acts of the public enemy, acts of terrorism, sabotage, blockades,
epidemics, Iandslides, lightning, earthquakes, washouts, arrests and restraints of rulers and
peoples, civil disturbances, explosions, breakage or accidents to machinery or lines of pipe, or
blockages of lines of pipe not due to lack of maintenance, extraordinary operating conditions on
Gatherer's, Shipper's or Shipper's facilities or on those of any Downstream Transporter or NGL
pipeline, Force Majetrre events on any Downstream Transporter or NGL pipeline, inability of
any Party to obtain necessary machinery, materials, permits, refusal of one or more landowners
to provide necessary easements or rights-of-way, freezing of any well or delivery facility, well
blowout, cratering, the partial or entire failure of a well and the act, order, rule or regulation of
any court or governmental authority prohibiting a Party from discharging its obligations under
this Agreement, and any other causes whether of the kind herein enumerated or otherwise, not
reasonably widain the control of the Party claiming suspension. Force Majeure does not include:
mechanical failure or breakdown of electric generation plants, changes in market conditions or
changes in demand for electricity at electric generation plants such as increases or decreases in
electric generation that are required by any agency or body having such authority, or failure of
upstream transportation prior to delivery hereunder at the Receipt Point(s). Notwithstanding
anything herein to the contrary, no Party shall be entitled to the benefits of this Section 16.1 to
the extent the event of Force Majeure is caused or affected by any or all of the following
circumstances' (i) the Party claiming excuse failed to remedy the condition and to resume the
performance of its covenants or obligations with reasonable dispatch, or (ii) economic hardship,

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to incluée, without limitation, Sl1ipper's ability to sell its Gas at a higher or more advantageous
price to a market not requiring the gathering or processing services contracted for herein.

       16.2 Notice. A P8rty which is unable, in whole or in part, to carry out its obligations
under this Agreement due to Force Majeure shall give prompt written notice to ti'tat effect to the
other Parties staring with reasonable particularity the circumstances underlying such Force
Majeure and the obligations such Party is unable to carry out.

         16.3 Resolution. A Party claiming Force Majeure shall use commercially reasonable
efforts to remove the cause, condition, event or circumstance of such Force Majeure, shall give
prompt written notice to the othcr Parties of ihe termination of such Force Majeure, and shall
resume performance of any suspended obligation promptly afier termination of such Force
Iviajeure. The decision to settie a strike or labor disturbance is at the sole discretion of the Party
claiming Force Majeure due to such strike or labor disturbance.

        36.4 Repairs and Maintenance. Gatherer shali I1ot be liable to Shipper for interruptions
or cuwai! ment of Shipper's Gas on the em  Gathering
                                               or at the
                                                       Sys£
                                                          Plant as a resuk of
maintenance, integrity sting, repairs or improvements to pipelines or other faciEities. Gatherer
shall provide Shipper with noéice of such interruptions or cunailments as far in advance as
praczicabie, and shali use commercially masonable efforts to iimit the duration of same.




                                      A R TICLE XVII
                                  TERM AND TERMINATION

          87.1 Effective Date and Term. This Agreement shall govern any and all Transactions
and shall be in effect for a term of twenty (20) year(s) from April 17, 2015 (the "Primary Term").
It shall then continue in effect from Month to Month thereafier (each such Month, the "Extended
Tern3"), unless terminated by either Shipper or Gatherer upon thirty (38) Days prior written
notice to the other Party prior to thc end of the PrErnary Term or any Extended Term, as the case
may be, providedthat this Agreement shall continue to apply to all Transactions then in effect
until all Transactions are completed.

       17.2 Termination. This Agreemlpnt may be terminated
                                                   ed as follows
                                                           or cance¥
                                                                 and in no
other manner:
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        (a)     By either Gatherer or Shipper, in the event of any uncured Default of the other
        Party, provided that the terminating Party is not itself in Default (other than a Default
        which occurs because such Party is rightfully withholding performance in response to the
        other Party's Default);

        (b)    By the applicable Party pursuant to any provision of this Agreement expressly
        providing termination rights; or

        (C)     By all ofthe Parties at any time upon mutual written agreement.

       17.3 Bights and Obliga_ti.ons Upon Termination. Termination or cancellation of this
Agreement shali not relieve the Parties from any obligation accruing or accrued prior to the date
of such termination. Upon termination of this Agreement, the Parties shall retain all other rights
and remedies available at Eaw or in equity.

                                     A R TIC LE XVIII
                           REPRES ENTATIONS AND WARRANTIES

         18.1 R e pr 1;a _tiQns a nd W a rra ntie s. Ea c h of S hippe r a nd Ga the re r re pre s e nts a nd
wa rra nts to e a ch othe r tha t on a nd a s of the da te he re of'

        (a)     It is duly formed, validly existing and in good standing under the laws of its state
        ofjurisdiction or formation, with power and authority to carry on the business in which it
        is engaged and to perform its respective obligations under this Agreement,

        (b)     The execution and delivery of this Agreement by it have been duly authorized and
        approved by all requisite corporate, limited liability company, partnership or similar
        action;

        (c)    It has all the requisite corporate, limited liability company, partnership or similar
        power and authority to enter into this Agreement and perform its obligations hereunder;

        (d)    The execution and delivery of this Agreement does not, and consummation of the
        transactions contemplated herein will not, violate any of the provisions of organizational
        documents, any agreements pursuant to which it or its property is bound or, to its
        knowledge, any applicable Laws,

        (e)     This Agreement is valid, binding and enforceable against it in accordance with its
        terms subject to bankruptcy, moratorium, insolvency and other Laws generally affecting
        creditors' rights and general principles of equity (whether applied in a proceeding in a
        court of law or equity); and

        (f )    It is qualified to do business in the State(s) in which the Subject Leases, Receipt
        Point(s) and Delivery Point(s) are located.
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                                          ARTICLE XIX
                                        MIS CELLANEOUS

      19.1 Entire Agreemen_t. This Agreement constitutes the entire agreement between and
among the Parties pertaining to the subject matter hereof and supersedes ail prior and
contemporaneous (oral or written) negotiations, proposals, agreements and understandings.

        19.2 Modificati9__n_§ No modifications of the terms and provisions of this Agreement
shall be or become effective except by the execution by each of the Parties of a supplementary
written agreement.

        19.3 Waiver. No waiver by any Party of any one or more Defaults by the other Party
in performance of any provisions of this Agreement shall operate or be construed as a waiver of
any future Default or Defaults, whether of a iike or a different character.

        19.4 No Third Party Beneficiaries. This Agreement is for the sole and exclusive
benefit of the Parties hereto. Except as expressly provided herein to the contrary, nothing herein
is intended to benefit any other Person not a Party hereto, and no such Person shall have any
legai or equitable right, remedy or claim under this Agreement.

         19.5 Assignment. Except as otherwise set forth herein, this Agreement is binding upon
the successors or assigns of Gatherer and Shipper. Neither Party shalt v oluntarily or
involuntarily, directly or indirectly, transfer or otherwise alienate any or all of its rights, title or
interests under this Agreement to any other Person without the express prior written consent of
the other Party, which consent shall not be unreasonably delayed or withheld, provided, however,
that a Party may (without seeking the consent of the other Party) transfer or otherwise alienate
any of its rights, title or interests under this Agreement in connection with (i) a transfer to an
Affiliate which remains an Affiliate, and (ii) the granting of a pledge, mortgage, hypothecation,
lien or other security interest and any transfer pursuant to or in settlement of any terms of
provisions of any agreement creating any such security interest. Unless otherwise agreed to in
writing by the other Party, and except for transfers pursuant to (ii) above, both the transferor and
the transferee shall be jointly and severaliy responsible and primarily liable for the full and
timely performance of all covenants, agreements and other obligations, and the timely payment
and discharge of all liabilities, costs and other expenses arising (directly or indirectly) pursuant
to this Agreement. Promptly upon transfer of all or any portion of its rights, title and interests in
and to this Agreement, the transferor shall prov ide the other Party with a copy of such
instrument. Any attempted transfer in violation of the terms of this Agreement of any rights, title
and interests arising under this Agreement shall constitute a Default and be null and void and
have no force or effect.

       19.6 Confidentiality. The Parties agree that all information and data exchanged by
them pursuant to or in connection with this Agreement shall be maintained in strict and absolute
confidence for the term of this Agreement and one (I) year following its termination or
cancellation except for disclosure (a) pursuant to the permitted sale, disposition or other transfer
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(directly or indirectly) of a Party's rights and interests in.and to this Agreement, (b) to lenders,
accountants and other representativ es of the disclosing Party with a need to know such
information, (c) in conjunction with a merger, consolidation, share exchange or other funn of
statutory reorganization involving a Party, (d) as required to make disclosure in compliance with
any applicable Law or (e) to a Pariy's officers, directors and personnel, as necessary to carry out
such Party's obligations under the Agreement.

         19.7 Exhibits andlichedules. All exhibits, schedules and the like contained herein or
attached hereto are integrally related to this Agreement and are hereby made a part of this
Agreement for all purposes. Except as otherwise provided in Section 2.1 hereotl to the extent of
any ambiguity, inconsistency or conflict between the body of this Agreement and any of the
exhibits, schedules and the like attached hereto, the terms of the body of this Agreement shall
prevail.

       19.8 Choice Qf ..L3V~C~ T H I S A G R E E M E N T S H A LL B E G O V E R N E D B Y , A N D
CONSTRUED, ENFORCED AND PERFORMED IN ACCORDANCE WITH THE LAWS OF
T HE C O M M O N WE ALT H O F P E N N S Y LV AN IA, WIT HO U T R E GAR D T O P R IN C IP LE S
OF CONFLICTS OF LAW.

         19.9 _ Further As_sural3ces. Subject to the terms and conditions set forth in this
Agreement, each of the Parties agrees to use all reasonable efforts to take, or cause to be taken,
all actions, and to do, or to cause to be done, all things necessary, proper or advisable under
applicable laws and regulations to consummate and make effective the transactions contemplated
by this Agreement. In case, at any time alter the execution of this Agreement, any further action
is necessary or desirable to carry out its purpose, the proper officers or directors of the Parties
shall take or cause to be taken all such necessary actions.

        19.10 Survival.. The provisions of this Agreement shall survive any expiration or
termination thereof for so long as necessary to give etfect to the intent of the Parties, but in no
event to exceed any applicable statute of limitations.

        19.11 Severability. Any term or prov ision of this Agreem ent that is inv alid or
unenforceable in any jurisdiction shall be ineffective as to suchjurisdietion, to the extent of such
invalidity or unenforceability, without rendering invalid or unenforceable the remaining terms
and provisions of this Agreement or affecting the validity or enforceability of any terms and
provisions of this Agreement in any other jurisdictiorl. If any provision of this Agreement is so
broad as to be unenforceable, each provision shall be interpreted to be only as broad as is
enforceable.

        19.12 Terminology.       Unless the context clearly requires otherwise, all personal
pronouns used in this Agreement, whether used in the masculine, feminine or neuter gender,
shall include all other genders, the singular shall include the plural, and vice versa. Articles,
sections and other titles or headings are for convenience only, shall neither limit nor amplify the
provisions of the Agreement itself, and all references herein to articles, sections or subdivisions
thereof shall refer to the corresponding article, section or subdivision thereof of this Agreement
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unless specific reference is made to such articles, sections or subdivisions of another document
or instrument.

        I9.}3 Counterparts. This Agreement may be executed in muitipie counterparts,
including by electronic transmission, each of which, when so executed, shall be deemed an
original, and all of which together shall constitute but one and the same instrument.

        19.14 Compliance with Law§. This Agreement and the performance of the obligations
contemplated herein are and shall be subject to all valici applicable Laws. The Parties shall act in
accordance with each such Law. The Parties will cooperate with respect to compliance with all
governmental authorizations, including obtaining and maintaining all necessary regulatory
authorizations or any reasonable exchange or provision of information needed for filing or
reporting requirements.

        19.15 Audit. Each Party shall have the right to examine and audit, at its own expense, at
reasonable times during regular business hours and upon reasonable notice, all books, records
and charts of the any other Party to the extent necessary to v erify the accuracy of any
measurement and payment hereunder, and the related statements, computations, allocations and
procedures provided for in the Agreement, for a period of two (2) years after the date of the
statement in which such measurement, payment, computation, allocation or procedure is
reflected, provided, however, that a formal audit of accounts shall not be made more often than
every twelve (12) months and will not include any time period for which a prior audit hereunder
was conducted. Any inaccuracy will be promptly corrected when discovered, but in no event
later than six (6) months after such audit exceptions are received by the audited Party; provided,
however, that no Party shall have the right to contest any such measurement or payment, or the
related statement, computation, allocation or procedure, ifthe matter is not called to the attention
of the other Party in writing within two (2) years after (a) the date upon which such measurement
was conducted or such payment was made, or (b) the date of the related statement, computation,
allocation or procedure containing the questioned inaccuracy. Any of such items not contested
with specificity in writing within such time period shali conclusively be deemed to be accurate.

        19.16 Termination of Original Agreement.         The Original Agreement is hereby
temainated as of the Effective Date and superseded in its entirety by the terms and conditions of
this Agreement.


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                                                                 EXECUTION VER.S'ION
        IN WITNESS WHEREOF, the Parties herete have caused this Agreement to be signed by
their respective duly authorized representatives effective as of ihe Effective Date.

"GATHERER"                                   "SI-IIPPER"              .
ETC NORTHEAST PIPELINE, LLC                  EM ENERGY P          SYLVANIA, LLC


                                                                              ||

By:                                          By:
Printed                                      Printed
Name:                                        Name:           'E7¢\f-MJ bi. !*'\c.¢¢J£¢l€
Title »                                      Title:                aff#
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                                                              EXECUTION PFRSION

        IN WITNESS WHEREOF, the Parties heretohave causedthis Agreementto be signed by
their respective duly authorized representatives effective as ofthe Effective Date.

"GATHERER"                                 "SHIPPER"
ETC NORTHEAST PIPELINE, LLC                EM ENERGY PENNSYLVANIA, LLC



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                UWDW           QQ
                                            By:
                                            Pinted Name:
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Title:
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Execution Version


                             AMENDED AND RES TATED
                    INDIVIDUAL TRANS ACTION CONFIRMATION
                           (Gatherer's Contract No. 9532-101)
                                          TO
                             AMENDED AND RES TATED
                    GATHERING AND PROCES S ING AGREEMENT
                    BETWEENEM ENERGY PENNS YLVANIA, LLC
                                         AND
                          ETC NORTHEAS T PIPELINE, LLC
                             DATED NOVEMBER 13, 2017

       THIS      AMENDED         AND RESTATED              INDIVIDUAL          TRANSACTION
CONFIRMATION (this "ITC") is entered into effective as of the 13"' day of November, 2017
(" `ective Date"), by and between ETC Northeast Pipeline, LLC ("Gatherer") and EM Energy
Pennsylvania, LLC ("Sl3i;;per"). This ITC constitutes part of and is subject to all of the terms
and provisions of the Base Agreement (collectively, the "Agreeq.1ent"). All capitalized terms not
defined herein shall have the meaning ascribed to such terms in the Base Agreement, unless
otherwise defined herein. Any discrepancy or conflict between any term contained in the Base
Agreement and any term contained in this ITC shall be resolved in favor of this ITC.

                                       WITNESSETH:

        WHEREAS, Gatherer and Shipper entered into that certain Individual Transaction
Confirmation dated April 17, 2015 (Gatherer's Contract No. 9532-101), as amended pursuant to
that First Amendment to Individual Transaction Confirmation dated August 1, 2015 (as so
amended, the "Original ITC 10l");




        WHEREAS, in consideration of and in express reliance on, inter alia, the maldng of the
Parent Commitment by Parent and the Equity Sponsor Commitment by the Equity Sponsors and
Parent, Gatherer has agreed to amend and restate the Original ITC 101; and


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        WHEREAS, Gatherer and Shipper now desire to amend and restate the Original ITC
Iol, on the terms and conditions set forth herein.

       NOW, T HEREFORE, for and in consideration of the premises and mutual covenants
herein contained, and intending to be legally bound, Shipper and Gatherer do hereby stipulate
and agree as follows:

                                        AG REEMENT

BASE AGREEMENT: Amended and Restated Gathering and Processing Agreement dated
November 13, 2017, ContractNo. 9532-100.

INDIVID__UAL TRANSACTION NUIVIBER: 9532~l01

SI-IIPPER: EM Energy Pennsylvania, LLC

GATI-IERER: ETC Northeast Pipeline, LLC

GUARANTEED ! N;_s1:Rv lQE pAT1;: January 1, 2019

T E R M : This ITC shall become effective on the Effective Date, and continue until twenty years
from the In-Service Date ("Primarv Term") and thereafter continue in effect from Year to Year,
until terminated by Shipper or Gatherer giving the other Party written notice no less than ninety
days (98) Days prior to the end of the Primary Term cr any such annual extension.

GAT HERING SYST EM: The Gathering System to be constructed, owned and operated by
Gatherer under this ITC is depicted in part on the map shown on Exhibit A hereto, as may be
updated by mutual agreement of the Parties, and will be capable of (i) gathering the SRC from
the Receipt Points upstream of the Galaxy Central Delivery Point ("Gaiaxy CDP") for delivery
to the Galaxy Compressor Station ("LP-Galaxy Gati8ering"), (ii) compressing and dehydrating
the SRC at the Galaxy Compressor Station ("Galaxy..Contpression"), (iii) gathering, v ia
Gatl1erer's high pressure gas pipeline ("HPGP"), the SRC from the Galaxy Compressor Station
to the Plant ("HP Gathering") and (iv) gathering Residue Gas from the Plant for delivery to the
Delivery Point.
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The first Day of the Month following the Day on which the LP-Galaxy Gathering (other than
laterals to the Sculptor Receipt Point and the Morloceros Receipt Point), Galaxy Compression,
HPGP, HP Gathering, Plant and Delivery Point are completed and placed in commercial service
shall be the "Qi-Service Dat_e8"hereunder.




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FAILURE TO MEET GUARANTEED. IN-SERVICE DATE: if the In-Service Date shall not
have occurred by the Guaranteed In-Service Date of January 1, 2019, irrespective of any
outstanding or intervening declarations of Force Majeure, then Shipper may terminate this ITC
upon written notice to Gatherer within thirty (30) Days of the Guaranteed In-Service Date, and
neither Party shall have further obligation to the other hereunder.

_PLANT: The Plant hereunder shall be Gatherer's Revolution I cryogenic processing plant
capable ofprocessing the SRC and located in Washington County, PA.

RECEIPT POINTS: The Receipt Points for all Gas delivered by Shipper hereunder shall be at
the inlet flange of the master meters at the well pad sites, to be constructed and owned by
Gatherer, identified in the table below, and each Receipt Point shall have a maximum daily
delivery quantity as specified in the table:
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C OMP ONENT RECOVERY FACTORS :




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(A) In conjunction with execution of the Original Agreement, the Original ITC 101 and
Ori gi nal ITC 102, Shi pper provi ded to Gatherer i ni ti al credi t support _
                                                                en and as required pursuant to this
section, Shipper shall provide Credit Support, including without limitation the Initial Credit
Support, Incremental Credit Support (if any) and Additional Credit Support (if any), in one of the
following forms, each of which shail constitute a form ofreasonably satisfactory Credit Support:

       a.  A written Guaranty of payment from an Affiliate with credit satisfactory to Gatherer,
           but such guaranty of payment shall constitute an acceptable form of Credit Support
           only for as long as the credit of the Affiliate continues to be reasonably satisfactory to
           Gatherer,
       b. An irrevocable letter of credit in a reasonably satisfactory form and from a Qualified
           institution ("Qualifiec1 Institution" shall mean a major U.S. commercial bank or the
           U.S. branch of a foreign bank which has assets of at least $50 Billion U.S. Dollars
           and a credit rating of at least 'A-' by Standard & Poor's Ratings Services, or its
           successor, or a credit rating of at least 'A3' by Moody's Investors Service, or its
           successor, and is otherwise acceptable to Gather-er.), or
       c. A prepayment or a deposit.

(B)     On an annual basis during the term of either ITC, Shipper shall provide its audited
financial statements with footnotes and any other information requested by Gatherer to properly
evaluate Shipper's financial condition. In the event i) Shipper's financial condition has

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deteriorated as compared to the FYE December 31, 2013 consolidated financial statements
provided to Gatherer on September 22, 2014 such that Gatherer can reasonably substantiate
grounds for insecurity, as evaluated by Gatherer on a nowdiscriminatory basis, based on
consistent financial evaluation standards for determining the acceptability of Shipper's overall
financial condition; or ii) Shipper experiences a material adverse change to its financial
condition, which shall include only the following events: (a) qualified auditor's opinion relating
to the financial statements which indicates significant uncertainty as to Shipper's ability to exist
as a going concern; (b) adjudged litigation or final orders in a regulatory proceedings in State or
Federal courts which is likely to cause a condition of insolvency, then Gatherer may hereby
request incremental Credit Support in the amount of thirty (30) days of: (i) Gathering Demand
Fee + (ii) Processing Demand Fee + (iii) T&F Demand Fee + (iv) Storage Demand Fee, all as
escalated from time to time, (collectively, the "Fees") plus (v) any imbalance due to Gatherer
from Shipper ("Incrementai Credit Support'° ). The Incremental Credit Support shall be issued
and maintained by Shipper for the benefit of the Gatherer throughout the term of both lTCs, as
may be extended from time to time, unless such Incremental Credit Support is rnoditied by
Gatherer in its reasonable discretion as outlined in (D) below.

(C) Upon the occurrence of an Event of Default with respect to Shipper, then Shipper shall
provide additional Credit Support to Gatherer within fifteen (15) business days of written
demand to Shipper. The additional Credit Support shall be the lesser of: (i) four (4) months of
Fees due from Shipper or ii) the number of months remaining in either or both ITCs ("Additional
Credit Support"). Such Additional Credit Support shall be issued and maintained by Shipper for
the benefit of the Gatherer throughout the term of both ITCs, as may be extended from time to
time, unless such Additional Credit Support is modified by Gatherer in its reasonable discretion
as outlined in (D) below.

(D) If Gatherer determines in its reasonable judgment that the Incremental Credit Support or
Additional Credit Support is or are no longer required or the amounts of any such Credit Support
can be reduced, Gatherer shall return any such excess Credit Support to Shipper within five (5)
business days of its reasonable determination based upon Gatherer's annual assessment of the
Shipper's financial statements which shall be conducted within sixty (60) calendar days of
receipt of Shipper's annual audited financial statements, provided, however, upon the occurrence
of an Event ot'Default with respect to Shipper pursuant to section (C) at any time during the term
of either iTc, then Gatherer has the right to reinstate its requirement for Incremental Credit
Support pursuant to section (B) and/or Additional Credit Support pursuant to section (C).

(E)      At any time while either or both ITCs Es effective, if Gatherer determines that, as of such
time, the issuer of any letter of credit in fav or of Gatherer shall cease to he a Qualified
Institution, then Gather may submit a written notice of such determination to Shipper (which
notice shall provide Gatherer's basis for such determination), and within fifteen (15) business
days after Shipper's receipt of such notice from Gatherer, Shipper shall deliver to Gatherer, and
shall thereafter maintain, an irrevocable standby letter of credit in favor of Gatherer in a format
acceptable to Gatherer and from a Qualified Institution.
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              (F) For any Credit Support in the form of an irrevocable standby letter of credit that is provided
__hip1Jer's_L§to Gatherer (any such letter of credit, "§                              ), such Shipper's Letter of
              Credit shall permit partial draws and shall have an expiry date no sooner than twelve (12)
              calendar months after issuance thereof. With respect to any Shipper's Letter of Credit, Shipper
              shall furnish extensions or replacements of such letter of credit thirty (30) days prior to the
              expiration thereof, from time to time until the expiration of both iTCs. All extensions,
              amendments and replacements of any Shipper's Letter of Credit shall be delivered to Gatherer in
              the form of such outstanding Shipper's Letter of Credit, or in form otherwise satisfactory to
              Gatherer. Gatherer shall have the right to draw against any outstanding Shipper's Letter of
              Credit upon: (a) failure to make payment when due under either or both ITCs; or (b) the failure
              or refusal of Shipper to deliver any applicable extension, amendment or replacement of an
              outstanding Shipper's Letter of Credit as provided herein. in the event of a draw in accordance
               with clause (a) of the preceding sentence, the proceeds of such draw shall be applied against any
              costs, expenses or damages incurred by Gatherer. In the event of a draw due to the failure or
              refusal of Shipper to deliver any applicable extension, amendment or replacement of an
               outstanding Shipper's Letter of Credit, which draw may be in part or in whole, the proceeds of
              the draw shall be retained by Gatherer until Gatherer receives a replacement Shipper's Letter of
               Credit or until Gatherer does in fact incur any costs, expenses or damages as a result of a breach
              by Shipper of any of its obligations under either or both ITCs (in which event, such monies shall
              be applied against the same). lf drawn in part or in whole, Shipper shall immediately thereafter
              provide a replacement Shipper's Letter of Credit in an amount equai to the amount drawn by
               Gatherer. Any draw made by Gatherer under an outstanding Shipper's Letter of Credit shall not
               relieve Shipper of any liabilities, deficiencies, costs, expenses or damages beyond what is drawn
               under such Shipper's Letter of Credit. Shipper's Letter of Credit (representing any undrawn
               portion thereof), to the extent it still remains, or any Credit Support in the form of cash deposit
               held by Gatherer shall be returned to Shipper on or before the thirtieda (30"') day after the later to
               occur of (i) the date on which both ITCs have terminated or expired and (ii) the date on which ali
               of Shipper's performance and payment obligations under both lTCs (including, without
               limitation, any damages arising from either such agreement) have been fulfilled.

               ADDITIONAL c0vEnAnTs, REPRESENTATIONS AND WARRANTIES;
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TERMINATION OF ORIGINAL ITC 101_: The Original ITC 101 is hereby terminated as of
the Effective Date and superseded by the terms and conditions of this ITC.

                         [SIGNATURE PAGE FOLLOWS]




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        I N WITNESS WI-IEREOF, the Parties hereto have caused this instrument to be executed
in multiple originals effective and operative as of the date first hereinabove written.


GATHERER                                  SHI

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      IN WITNESS WHEREOF, the Parties hereto have caused this instrument to be
executed in multiple originals effective and operative as of the date iirst hereinabove written.


GATHERER                                    S HIP P ER

ETC NOR T       AS PIPELINE,LLC             EM ENERGY PENNSYLVANIA, LLC

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